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  16 STATE FARM GENERAL INSURANCE COMPANY
  17                           UNITED STATES DISTRICT COURT
  18            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19 JACQUELYN “JACKIE” LACEY, in                 Case No.: 2:24-cv-05205-FMO-MAA
     her individual capacity; and
  20 JACQUELYN “JACKIE” LACEY as                  Hon. Fernando M. Olguin
     trustee of the D and J Lacey Family
  21 Trust dated November 23, 2016,               DEFENDANT STATE FARM
                   Plaintiffs,                    GENERAL INSURANCE
  22                                              COMPANY’S NOTICE OF
            v.                                    MOTION AND MOTION FOR
  23                                              SANCTIONS
     STATE FARM GENERAL
  24 INSURANCE COMPANY, an Illinois               Date: May 22, 2025
     corporation, and DOES 1-50, inclusive,       Time: 10:00 a.m.
  25               Defendants.                    Crtrm: 6D
  26                                              [Declaration of Jennifer Hoffman,
                                                  Compendium of Exhibits and
  27                                              [Proposed] Order filed concurrently.]
  28

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   1 TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
   2            PLEASE TAKE NOTICE that on May 22, 2025, at 10:00 a.m., in
   3 Courtroom 6D, located at the First Street Courthouse, 350 West 1st Street, Los
   4 Angeles, California 90012, Defendant State Farm General Insurance Company
   5 (“State Farm”), will and hereby does move this Court for an order imposing
   6 sanctions pursuant to Federal Rule of Civil Procedure 11 (“Rule 11”), 28 U.S.C. §
   7 1927, and/or the Court’s inherent power. State Farm requests the Court to issue an
   8 order: (a) striking the false allegations contained in the Complaint (ECF 1-1); (b)
   9 ordering Mrs. Lacey’s counsel of record, Ellis George LLP and K&L Gates LLP,
  10 jointly and severally, to pay State Farm’s reasonable attorneys’ fees and costs
  11 incurred to date in defending itself in this action, which exceed $500,000 or, at a
  12 minimum, fees incurred in bringing this Motion, which will likely exceed $20,000;
  13 and (c) imposing any other sanction against the law firms or their attorneys of record
  14 that the Court deems warranted to deter comparable misconduct.
  15            This Motion is made after State Farm repeatedly requested, and Mrs. Lacey’s
  16 counsel refused, to complete a meet and confer pursuant to Local Rule 7-3.
  17 (Declaration of Jennifer Hoffman (“Hoffman Dec.”), ¶¶ 16-21). Pursuant to Rule
  18 11(c)(2), State Farm served this Motion on Plaintiff’s counsel at least 21 days before
  19 filing it with the Court. (Hoffman Dec., ¶ 25).
  20            State Farm basis its Motion on this Notice of Motion, the attached
  21 Memorandum of Points and Authorities, the Declaration of Jennifer M. Hoffman,
  22 the Compendium of Exhibits, and all other pleadings and papers filed, and any oral
  23 argument in support thereof.
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   1 Dated: March 31, 2025       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   2
                                 By                   /s/ Jennifer M. Hoffman
   3                                                JENNIFER M. HOFFMAN
   4                                                 ANDRE J. CRONTHALL
                                                      ANDREA S. WARREN
   5
                                                       JEFFREY S. CROWE
   6
                                                     Attorneys for Defendant
   7
                                              STATE FARM GENERAL INSURANCE
   8                                                       COMPANY
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   1                      MEMORANDUM OF POINTS AND AUTHORITIES
   2 I. INTRODUCTION
   3            Counsel for Plaintiff Jacquelyn Lacey, all officers of this court, have premised
   4 this case on a falsity. State Farm only recently discovered the true facts, which Mrs.
   5 Lacey’s counsel concealed for months and now refuse to correct. Their false factual
   6 allegations—designed to avoid mandatory arbitration under California Civil Code
   7 Section 2860—have needlessly multiplied and prolonged these proceedings, and
   8 their recalcitrance warrants sanctions.
   9            Mrs. Lacey’s counsel alleges that her central damages in this case are
  10 attorneys’ fees that Mrs. Lacey owes to them, which include more than $1 million
  11 owed to Ellis George alone, for defending David Lacey in an underlying lawsuit,
  12 Abdullah et al. v. Lacey et al. (the “Abdullah Action”). The Abdullah Action was
  13 filed at the end of October 2020 after Mr. Lacey, Mrs. Lacey’s late husband,
  14 confronted protestors on the Laceys’ property with a gun. State Farm ultimately
  15 accepted Mr. Lacey’s tender of defense in the Abdullah Action in March 2021
  16 subject to a reservation of rights and agreed to pay his selected counsel pursuant to
  17 Section 2860. 1 But, months earlier, Mr. Lacey retained Ellis George to defend him
  18 pro bono.
  19            The Ellis George pro bono agreement meant that Ellis George could never
  20 charge the Laceys a dime for attorneys’ fees in connection with the Abdullah
  21 Action. But, neither the Laceys nor their counsel told State Farm, or the Court, the
  22 true facts. Instead, dissatisfied with State Farm’s attorneys’ fees payments pursuant
  23 to Section 2860, Ellis George filed this lawsuit falsely alleging that Mrs. Lacey
  24   1
         Originally enacted as part of a tort reform act sponsored by former Attorney
  25   General Bill Lockyer, Section 2860 limits an insurer’s obligation to pay independent
  26   counsel to rates “which are actually paid by the insurer to attorneys retained by it” in
       similar actions and provides that “any dispute concerning attorney’s fees . . . shall be
  27   resolved by final and binding arbitration by a single neutral arbitrator selected by the
  28   parties to the dispute.”

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   1 owed them a direct debt of more than $1 million in attorneys’ fees. They repeat that
   2 allegation throughout their Complaint, expressly alleging that the Laceys are
   3 “responsible for the difference between the reasonable hourly rates actually charged
   4 by Ellis George versus the reduced rates State Farm agreed to pay.” (ECF 1-1, ¶
   5 32). And, they claim that that purported debt to Ellis George, allegedly assumed as
   6 a result of State Farm’s initial coverage position, caused Mrs. Lacey emotional
   7 distress. They made all of those false allegations in an effort to avoid mandatory
   8 arbitration of fee disputes under Section 2860. And, it worked.
   9            State Farm moved to compel arbitration in September 2024, before the pro
  10 bono revelation. It was only months later, and after two informal discovery
  11 conferences with the Court, that Ellis George and its co-counsel K&L Gates finally
  12 produced the pro bono retention agreement. State Farm then raised the pro bono
  13 agreement during the February 2025 hearing on the motion to compel arbitration.
  14 The Special Master responded that allegations falsely alleging a debt not owed may
  15 well raise a Rule 11 issue, but that neither Rule 11 nor the pro bono agreement was
  16 properly before him. Instead, he recommended denial of State Farm’s motion based
  17 on the finding that the gravamen of this case was not a fee dispute between counsel
  18 and State Farm. And, the Special Master appeared to base that finding, at least in
  19 part, on the false allegations that Mrs. Lacey had incurred more than $1 million in
  20 debt to Ellis George. But the extent (or even the fact) of the Special Master’s
  21 reliance on those false allegations is not the issue here.
  22            This Motion centers on counsel’s misconduct. Ellis George has known all
  23 along that it defended Mr. Lacey pro bono. Their written pro bono agreement
  24 means that the Laceys did not, and could not, as a matter of fact and California law,
  25 incur direct liability to them for any fees in connection with the Abdullah Action.
  26 And, if K&L Gates and Mrs. Lacey did not know before that Ellis George was
  27 falsely alleging that the Laceys incurred over $1 million in liability to Ellis George,
  28 they know now. Yet, they persist in pursuing those false allegations here, without

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   1 any factual, legal, or ethical justification. Even worse, they have doubled down on
   2 their false allegations to avoid mandatory arbitration of this fee dispute. Their
   3 misconduct should not be countenanced.
   4            The Court should strike the false allegations in the Complaint and sanction
   5 counsel for their recalcitrance.
   6 II. RELEVANT BACKGROUND
   7 A.         Ellis George Agrees to Defend Mr. Lacey Pro Bono
   8            Mrs. Lacey served as District Attorney for Los Angeles County when the
   9 Black Lives Matter movement began. (ECF 1-1, ¶ 4). On March 2, 2020, Black
  10 Lives Matter demonstrators assembled at the Laceys’ residence to protest. (Id., ¶¶ 5,
  11 20). Mrs. Lacey’s late husband, Mr. Lacey, confronted three demonstrators with a
  12 gun. (Id.). On October 19, 2020, the three demonstrators filed the Abdullah Action.
  13 (Id., ¶ 21).
  14         The same day, Mrs. Lacey reached out to her longtime friend Eric George, a
  15 named partner at Ellis George, formerly known as Browne George Ross O’Brien
  16 Annaguey & Ellis. (Compendium of Exhibits (“COE”) Ex. H, 32:7-22, 33:12-21,
  17 55:21-56:4, 57:1-2 & Ex. 3). Eric George agreed to undertake Mr. Lacey’s defense
  18 pro bono, or, as Mrs. Lacey understood, “for free.” 2 (Id. at 198:24-199:1, 214:13-
  19 18, 215:13-24). “No one ever talked to [her] and told [her]” that she could be held
  20 responsible for any attorney’s fees to Ellis George or anyone else. (Id. at 233:5-15;
  21 238:3-8).
  22       According to Mrs. Lacey, the Laceys’ attorney-client relationship with Ellis
  23 George began with that initial conversation between Mrs. Lacey and Eric George on
  24 or around October 19, 2020. (COE Ex. H, 33:8-34:15 & Ex. 3). On November 24,
  25 2020, Mr. George sent the Laceys a retention agreement memorializing the pro bono
  26 2
        Ellis George appears to have viewed the retention as a marketing opportunity,
  27 given Mrs. Lacey’s former status as a public figure and that the representation is still
  28 listed as the first bullet point on an Ellis George partner’s firm bio. (COE, Ex. R).

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   1 retention (the “Ellis George Pro Bono Agreement”). (COE Ex. G). The Ellis
   2 George Pro Bono Agreement begins:
   3            Pardon the formality of this letter, but California law requires that
                attorney fee agreements be in writing. Consequently, this letter —
   4            together with the accompanying Standard Terms of Retention . . . will
                serve as the fee agreement . . . and will confirm the scope and
   5            terms of our pro bono representation of [Mr. Lacey] in this
                matter. The agreement may not be changed or modified except by a
   6            subsequent document signed by all of us.
   7
       (Id. at LACEY000662) (emphasis added). So as to leave no doubt as to the pro
   8
       bono nature of the retention, the Ellis George Pro Bono Agreement goes on to
   9
       expressly state: “All attorney and paralegal time will be performed for you pro
 10
       bono.” (Id. at LACEY0006623).
 11
                Mr. Lacey countersigned the agreement on December 4, 2020. (Id.). Its
 12
       terms controlled Ellis George’s retention as Mr. Lacey’s counsel through the life of
 13
       the Abdullah Action; Mrs. Lacey confirmed that no other written agreement between
 14
       Mr. Lacey and Ellis George existed. (COE Ex. H, 181:6-11, 233:23-234:23).
 15
       B.       The Laceys Tender Defense of the Abdullah Action to State Farm
 16
                Meanwhile, on October 20, 2020, the Laceys’ personal counsel, Jeffrey
 17
       Zinder, sent a copy of the Abdullah Complaint to State Farm. (ECF 30-2, Ex. 3).
 18
       State Farm considered the tender and, due to coverage questions raised, retained
 19
       coverage counsel Wade & Lowe. (ECF 30-1, ¶ 8).
 20
                After completing its investigation, on December 15, 2020, State Farm sent a
 21
       letter explaining that the Abdullah Complaint did not support a potential of covered
 22
       damages against Mr. Lacey or a defense obligation under his State Farm policies. 3
 23
       (COE Ex. H, Ex. 6).
 24
 25
 26
       3 Different considerations applied to Mrs. Lacey, however. State Farm separately
 27 agreed to provide her with a defense and retained counsel to defend her. (ECF 30-2,
 28 Exs. 5-6). State Farm’s defense of Mrs. Lacey is not at issue on this Motion.

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   1 C.         State Farm Accepts Mr. Lacey’s Tender of Defense of an Amended
   2            Complaint and His Selection of Cumis Counsel
   3            In February 2021, the plaintiffs in the Abdullah Action filed a Second
   4 Amended Complaint which alleged a new cause of action for “false imprisonment,”
   5 a potentially covered “offense” under the Laceys’ Umbrella policy. (ECF 30-2, Ex.
   6 7). On February 19, 2021, Ellis George sent a copy of the Second Amended
   7 Complaint to State Farm. (Id.).
   8            On or around March 12, State Farm accepted Mr. Lacey’s tender of defense
   9 subject to a reservation of rights based on the new false imprisonment cause of
 10 action. (ECF 30-2, Ex. 8). State Farm also tentatively agreed to Mr. Lacey’s
 11 selection of Ellis George as independent or Cumis counsel subject to compliance
 12 with Section 2860, and notified Ellis George that it would reimburse reasonable and
 13 necessary defense fees at a rate of $225 per hour pursuant to Section 2860. 4 (ECF
 14 30-2, Ex. 9).
 15             Instead of billing at Section 2860 rates, however, and without informing State
 16 Farm of the pro bono agreement, for the next three years Ellis George sent State
 17 Farm invoices charging its full rates for Mr. Lacey’s defense, up to $850 an hour.
 18 (ECF 30-2, Ex. 19).
 19             State Farm paid Ellis George’s invoices as Cumis counsel at the Section 2860
 20 rates it had agreed to pay. (ECF 30-2, Exs. 9, 13). Consistent with Mr. Lacey’s pro
 21 bono agreement, Ellis George never billed the Laceys for attorneys’ fees. 5 (COE
 22 Ex. H, 192:14-20; 199:22-24).
 23
       4 The parties dispute the adequacy of the Section 2860 rates that State Farm paid,
 24
       which fee dispute is not at issue on this Motion. It is undisputed, however, that the
 25    rates State Farm paid Ellis George exceeded the “panel rates” State Farm paid
 26    retained defense counsel for Mrs. Lacey. (ECF 22, 8:24-9:8).
       5
         Years later, in 2023, Ryan Keech moved to K&L Gates and asked Mrs. Lacey to
 27    sign a second retention agreement with his new firm on behalf of David Lacey’s
 28    Estate. That agreement is itself unfair to Mrs. Lacey and unenforceable under

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   1            In 2023, Mrs. Lacey was dismissed with prejudice from the Abdullah Action.
   2 (Id., Ex. 13). In 2024, the parties mediated the remaining claims against Mr.
   3 Lacey’s Estate and reached a tentative settlement, which Cumis counsel prepared.
   4 (ECF 30-2, Ex. 16). State Farm fully funded the mediated settlement, and the
   5 Abdullah Action was dismissed with prejudice. (COE Ex. H, 117:23-25, 140:1-14,
   6 Ex. 13). In all, State Farm paid Ellis George and K&L Gates more than $800,000 in
   7 attorneys’ fees and costs. (COE Ex. B). But, Ellis George and K&L Gates wanted
   8 more.
   9 D.         Mrs. Lacey’s Counsel Based This Complaint on False Allegations That
 10             Mrs. Lacey Owes Ellis George More Than $1 Million in Attorneys’ Fees
 11             In March 2024, even before the dismissal of the Abdullah Action was
 12 finalized, Ellis George and K&L Gates demanded from State Farm the balance of
 13 their billed rates. (ECF 30-2, Exs. 19 & 20). State Farm responded that it had paid
 14 the rates required under Section 2860 and, if counsel disagreed with the payment,
 15 the fee dispute should proceed to mandatory arbitration. (ECF 17-1, ¶¶ 2-4).
 16             K&L Gates and Ellis George refused. In May 2024, they filed this lawsuit on
 17 behalf of Mrs. Lacey. (ECF 1-1). To create the façade that this case is about more
 18 than a fee dispute between them and State Farm, their Complaint expressly,
 19 repeatedly, and falsely alleges that State Farm’s December 2020 denial of Mr.
 20 Lacey’s initial tender of defense caused Mr. Lacey to retain Ellis George and
 21 thereby assume liability for more than $1 million in attorneys’ fees. (ECF 1-1). The
 22 Complaint, signed by Ellis George attorney Trent Copeland and K&L Gates
 23 attorney Ryan Keech, states:
 24             •        “Within months of the representation commencing, State Farm
                         either ‘slow paid,’ ‘low paid’ or, as time went on ‘no paid’ Mr.
 25
 26 California law for other reasons, but not directly at issue on this Motion. (COE Ex.
    Q, 15-16, 21-24). Regardless, State Farm paid K&L Gates’ invoices, which billed
 27 attorneys’ fees at rates of up to $990 an hour, at Section 2860 rates, subject to a
 28 reservation of rights. (ECF 30-2, Exs. 9, 13, 15, 20 (LACEY00000351)).

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   1                     Lacey’s legal fees — leaving the Laceys exposed to massive
                         legal expenses which State Farm had agreed to pay and was
   2                     obligated by law to pay.” (Id., ¶ 8 (emphasis added)).
   3            •        “The job of defending the underlying conduct would be left to
                         the insureds alone, paying for Mr. Lacey’s defense . . . .”
   4                     (Id., ¶ 27 (emphasis added)).
   5            •        “After State Farm’s denial . . . the Laceys had no choice but
                         to incur additional expenses by hiring counsel on their own,
   6                     Ellis George LLP (formerly known as Browne George Ross
                         O’Brien Annaguey & Ellis LLP) . . . to defend David Lacey in
   7                     the Underlying Action and protect his interests.” (Id., ¶ 29
                         (emphasis added)).
   8
                •        “It was not until March 12, 2021 . . . that State Farm reluctantly
   9                     agreed to extend a limited defense to Mr. Lacey — subject to . .
                         . a significant hourly rate reduction . . . leaving Mr. Lacey
 10                      responsible for the difference between the reasonable
                         hourly rates actually charged by Ellis George versus the
 11                      reduced rates State Farm agreed to pay.” (Id., ¶ 32
                         (emphasis added)).
 12
                •        State Farm “[left] the Laceys exposed to massive legal
 13                      expenses. [Plaintiff] as Trustee of the Trust (and as a
                         beneficiary thereof), in particular, remains damaged as she is
 14                      left holding the bag for Mr. Lacey’s (and later the Trust’s)
                         attorney’s fees.” (Id., ¶ 33 (emphasis added)).
 15
                •        State Farm “refused to pay a vast amount of the attorney’s fees
 16                      incurred in the defense of Mr. Lacey, leaving Mrs. Lacey
                         holding the bag for these sums.” (Id., ¶ 48 (emphasis added)).
 17
 18 E.          Mrs. Lacey’s Counsel Repeatedly and Systematically Presented Their
 19             False Allegations During Discovery
 20             During discovery Ellis George and K&L Gates continued to advance the false
 21 theory that, as a result of State Farm’s December 2020 coverage position letter, the
 22 Laceys retained Ellis George (whom they had actually retained in October 2020)
 23 and now owed Ellis George more than $1 million in attorneys’ fees. (Hoffman
 24 Dec., ¶¶ 3-5; COE Exs. B-D). The only damages that Mrs. Lacey addressed with
 25 particularity were for attorney’s fees, and the only documents offered as support for
 26 the purported $1 million owed to Ellis George were invoices that Ellis George billed
 27 to State Farm alone. (Id. & COE Ex. H, 199:20-24).
 28

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   1            Ellis George and K&L Gates insisted that their produced invoices constituted
   2 all supporting documents showing that Mrs. Lacey was “exposed” and “incurred”
   3 such fees. (COE Exs. B-D). However, they failed to produce any retention
   4 agreement reflecting that the Laceys assumed any obligation to pay the exorbitant
   5 fees they claimed. (Hoffman Dec., ¶¶ 7-8).
   6            After Ellis George and K&L Gates failed to produce retention agreements
   7 with Mrs. Lacey’s supplemental disclosures, State Farm served requests specifically
   8 asking for them. (Hoffman Dec., ¶ 6). Mrs. Lacey’s counsel, however, still failed
   9 to produce them. (Hoffman Dec., ¶¶ 7-8).
 10 F.          Discovery Revealed That Mrs. Lacey Did Not Owe Ellis George Any
 11             Attorneys’ Fees
 12             It was not until October 2024, during an Informal Discovery Conference
 13 (“IDC”) necessitated by counsel’s failure to produce the agreements and other
 14 documents, that counsel explicitly agreed to produce them. (ECF 33; Hoffman
 15 Dec., ¶ 9; COE Ex. E, 28:13-23; 37:4-10). However, even then, their subsequent
 16 production only included a K&L Gates agreement from 2023, years after State Farm
 17 undertook Mr. Lacey’s defense. 6 (Hoffman Dec., ¶ 10). That partial production
 18 necessitated another IDC, during which counsel claimed the omission of the Ellis
 19 George Pro Bono Agreement was inadvertent. (ECF 45; Hoffman Dec., ¶ 11; COE
 20 Ex. F).
 21             Counsel finally produced the Ellis George Pro Bono Agreement on
 22 November 15, 2024. (COE Ex. G). That production provided the first notice to
 23 State Farm that Ellis George had defended Mr. Lacey pro bono all along. (Id.).
 24             During her December 11, 2024 deposition, Mrs. Lacey authenticated the Ellis
 25 George Pro Bono Agreement, confirmed that she was “not aware of any other
 26
      Also following the first IDC, Ellis George and K&L Gates produced a privilege
       6

 27 log including communications between Mrs. Lacey and Ellis George dating back to
 28 October 19, 2020. (COE, Exh. H, Exh. 3).

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   1 document modifying” it, and testified that it was the complete agreement between
   2 Ellis George and David Lacey. 7 (COE Exh. H, pp. 59-62). She testified that,
   3 consistent with the Ellis George Pro Bono Agreement, Ellis George never billed,
   4 and Mrs. Lacey never paid, attorneys’ fees to Ellis George for Mr. Lacey’s defense.
   5 (COE Ex. H, 192:14-20, 199:20-24). According to her, she understood pro bono
   6 meant “free.” (Id. at 198:2-199:1).
   7 G.         The Special Master Issues a Report and Recommendation Which Relies
   8            on the False Allegations
   9            Two months before the pro bono revelation, State Farm moved to compel
 10 arbitration pursuant to Section 2860. (ECF 30). Section 2860 mandates arbitration
 11 of fee disputes between independent counsel and insurers, and State Farm argued
 12 that this case should be referred to arbitration because it is a thinly veiled attorneys’
 13 fee dispute between it and Cumis counsel. (Id.).
 14             Cumis counsel, Mrs. Lacey’s counsel herein, opposed the motion. (ECF 22).
 15 Still having failed to produce the Ellis George Pro Bono Agreement or disclose the
 16 pro bono arrangement, they expressly argued that the court should not compel
 17 arbitration because of Mrs. Lacey’s purported debt to Ellis George. (Id.). They
 18 reiterated that false claim no less than four separate times in their Opposition.
 19 (ECF 22 at 5, 7, 9, 22). As support, Cumis counsel cited only the dramatic, and
 20 false, allegations of their Complaint that the Laceys were left “holding the bag” for
 21
 22
       7
         After a break in her deposition (during which she met with attorneys Ryan Keech
       and Trent Copeland), and in response to questioning from Mr. Copeland, Mrs.
 23    Lacey said that she “believed” she had an obligation to pay Ellis George’s legal fees
 24    once State Farm accepted Mr. Lacey’s tender of defense. (COE Ex. H, p. 227).
       During further examination, Mrs. Lacey admitted there was no mention of any
 25    contingency in the Pro Bono Agreement related to State Farm’s defense before the
 26    break in her deposition, and confirmed that the Pro Bono Agreement was never
       modified. (COE Ex. H, p. 233-234). It is therefore both legally and factually false
 27    to suggest that some fee obligation existed, as discussed below and as State Farm’s
 28    expert details in her report. (COE, Ex. Q).

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   1 the balance of Ellis George’s fees which State Farm’s December 2020 denial
   2 purportedly caused them to incur (all while knowing the true facts that the Laceys
   3 had hired Ellis George pro bono months earlier). (Id. at 7, 22). The Court took the
   4 motion under submission on October 21, 2024, weeks before Ellis George produced
   5 the pro bono agreement. (ECF 31).
   6            In January 2025, the Court appointed a Special Master and referred State
   7 Farm’s Motion to Compel Arbitration to the Special Master for a Report and
   8 Recommendation. (ECF 30, 70, 73). During the hearing on the motion, the Special
   9 Master raised that Mrs. Lacey’s emotional distress claim stemming from State
 10 Farm’s alleged denial of Mr. Lacey’s defense and the Laceys’ retention of Ellis
 11 George at their expense, may be determinative to his decision. (COE Ex. I, 12:4-
 12 13:7; 16:21-17:2; 19:12-14). State Farm responded by raising the pro bono
 13 agreement, which it could not have raised before briefing closed because counsel
 14 had not produced the agreement. (Id. at 20:23-23:25). State Farm argued that that
 15 new information disproved counsel’s central argument in opposition to arbitration
 16 i.e. that the gravamen of the case was more than a Cumis fee dispute because Mrs.
 17 Lacey alleged that she was forced to incur significant, personal financial liability to
 18 Ellis George due to State Farm’s December 2020 denial. (Id.). The Special Master
 19 responded that counsel’s allegations may well raise a “Rule 11 issue,” but that issue
 20 was not before the Court. (Id. at 26:1-27:4).
 21             The Special Master expressly declined to consider the pro bono agreement
 22 and Mrs. Lacey’s testimony regarding the same in his Report on the grounds that the
 23 evidence was not submitted with the briefing. (ECF 78 at 9 n.6). The Special
 24 Master acknowledged that merely alleging that an insurer breached the duty to
 25 defend or engaged in bad faith does not avoid mandatory arbitration under Section
 26 2860. (Id. at 5:12-14). However, he recommended denying State Farm’s motion as
 27 “premature” based on his view that the “gravamen” of the action was not a fee
 28 dispute. (Id. at 1:10-16, 5:18-26, 7-9). That finding relied at least in part on the

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   1 false allegations included in the Complaint and recounted above. (Id. at 1, 9 n.6
   2 (“Plaintiff’s allegations affect the consideration of the gravamen of the federal
   3 action.”)). The Special Master thus found that Mrs. Lacey’s allegations of
   4 emotional distress stemming from “a fear that she owed a large amount of money to
   5 her independent lawyers” tipped the scales. 8 (Id. at 8:16-9:3).
   6            As discussed, and as Ellis George and K&L Gates knew, those allegations
   7 that Mrs. Lacey owed Ellis George more than $1 million in attorneys’ fees were
   8 false. Despite repeated opportunities, and even the Special Master’s
   9 acknowledgement of a potential Rule 11 issue, they refuse to correct them.
 10 (Hoffman Dec., ¶¶ 14, 16-21; COE Exs. K-P, Ex. I, 26:1-27:4). Instead, on March
 11 27, 2025, they urged this Court to enter the Special Master’s Report and
 12 Recommendation based on their false allegations. (ECF 87, p. 7:22-23) (urging
 13 adoption of the Report because “the pleadings … were analyzed [by the Special
 14 Master] to determine what the gravamen of the case actually is.”). This Motion
 15 followed.
 16
 17
 18
 19    8
         The Special Master also referenced alleged misconduct by Harry Safarian, counsel
 20    that State Farm retained to defend Mrs. Lacey in the Abdullah Action. (Id. at 8:19-
       20). Those allegations are also meritless, as evidenced by Mrs. Lacey’s deposition
 21    testimony, counsel’s records, and counsel’s offer to withdraw them entirely if State
 22    Farm agreed to not pursue counsel’s depositions. (See, e.g., Hoffman Dec., ¶ 15;
       COE Ex. J & Ex. H, 90:13-21, 137:5-138:18; 139:9-140:14 (attesting that Mrs.
 23    Lacey “liked” Harry Safarian, “love[d] working with” him, “admire[d] and
 24    respect[ed]” him and the other lawyers on her “team,” and did not recall Mr.
       Safarian attending the March 2024 mediation which resulted in a settlement
 25    agreement), 148:8-149:21 (attesting that the only signatories to the March 2024
 26    mediation settlement agreement were plaintiffs, plaintiffs’ counsel, Trent Copeland,
       Ryan Keech, and Mrs. Lacey); ECF 30-2, Exs. 16, 19 (LACEY00000242), 20
 27    (LACEY00000348-351)). Those false allegations underscore counsel’s disregard
 28    for Rule 11, and constitute another basis for sanctions.

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   1 III. LEGAL STANDARD
   2            Courts have broad discretion to impose sanctions. The power to sanction
   3 derives from federal procedural rules, federal statutes, and a court’s inherent power.
   4 Moser v. Bret Harte Union High Sch. Dist., 366 F. Supp. 2d 944 (E.D. Cal. 2005).
   5 A.         Rule 11
   6            Rule 11 imposes an affirmative duty on counsel to investigate the facts and
   7 law in an objectively reasonable manner before filing any “pleading, written motion,
   8 or other paper.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127-30 (9th Cir. 2002)
   9 (quoting Fed. R. Civ. P. 11); see also Truesdell v. S. California Permanente Med.
 10 Grp., 209 F.R.D. 169, 176-78 (C.D. Cal. 2002) (awarding sanctions against
 11 plaintiff’s counsel for his “entire course of conduct” in filing and then refusing to
 12 withdraw a complaint based on his “specious interpretation” of contractual
 13 obligations and factual misrepresentations). Accordingly, courts may impose
 14 sanctions whenever an attorney or party signs, files, submits or advocates any
 15 pleading or other paper with the Court: (1) for “any improper purpose, such as to
 16 harass, cause unnecessary delay or needlessly increase the cost of litigation;” (2)
 17 that is not “warranted by existing law or by a nonfrivolous argument for extending,
 18 modifying, or reversing existing law or for establishing new law;” or (3) that lacks
 19 evidentiary support for its factual contentions. Fed. R. Civ. P. 11(b)(1)-(3).
 20 B.          28 U.S.C. Section 1927
 21             28 U.S.C. § 1927 provides: “Any attorney . . . who so multiplies the
 22 proceedings in any case unreasonably and vexatiously may be required by the court
 23 to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably
 24 incurred because of such conduct.” In contrast to Rule 11, which authorizes
 25 sanctions against attorneys or law firms, Section 1927 applies to individual
 26 attorneys. Kaas Law v. Wells Fargo Bank, N.A., 799 F.3d 1290, 1294 (9th Cir.
 27 2015).
 28

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   1 C.         Court’s Inherent Power
   2            A court may rely on its inherent powers to issue sanctions for bad faith
   3 litigation misconduct, including where the misconduct “at issue is not covered by
   4 one of the other sanctioning provisions.” Chambers v. NASCO, Inc., 501 U.S. 32,
   5 50-51 (1991). Sanctions under the court’s inherent power may include attorney
   6 disqualification. Kleiner v. First National Bank, 751 F.2d 1193, 1209 (11th Cir.
   7 1985) (affirming disqualification of counsel under district court’s inherent power).
   8 IV. THIS COURT SHOULD ISSUE SANCTIONS
   9 A.         The Complaint Misrepresents Mrs. Lacey’s Claims and Damages
 10             Counsel’s “signature on a complaint is tantamount to a warranty that the
 11 complaint is well grounded in fact and ‘existing law’ . . . and that it is not filed for
 12 an improper purpose.” Christian, 286 F.3d 1118, 1127 (9th Cir. 2002). The
 13 signature “certifies that to the best of the person’s knowledge, information, and
 14 belief, formed after an inquiry reasonable under the circumstances” that “the factual
 15 contentions have evidentiary support[.]” Fed. R. Civ. P. 11(b). This obligation
 16 applies to complaints filed in state court and later removed to federal court. Buster
 17 v. Greisen, 104 F.3d 1186, 1190 n.4 (9th Cir. 1997). Where, as here, a complaint
 18 forms a basis for sanctions, courts must conduct a “two-prong inquiry to determine
 19 (1) whether the complaint is legally or factually ‘baseless’ from an objective
 20 perspective, and (2) if the attorney has conducted a ‘reasonable and competent
 21 inquiry’ before signing and filing it.” Christian, 286 F.3d at 1127 (citation omitted).
 22             The Complaint in this action centers on false allegations that, as a result of
 23 State Farm’s December 2020 coverage position letter, the Laceys retained Ellis
 24 George (whom they had retained months earlier) and incurred a debt of more than
 25 $1 million to Ellis George, which caused Mrs. Lacey emotional distress. Ellis
 26 George and K&L Gates falsely and repeatedly misrepresented that Mrs. Lacey
 27 sustained over $1 million in damages based on a purported direct obligation to pay
 28 Ellis George’s full billed rates. (See, e.g., ECF 1-1, ¶¶ 8, 33 (alleging the Laceys are

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   1 “exposed to massive legal expenses”), ¶ 27 (“the insureds alone [were left to pay]
   2 for Mr. Lacey’s defense”), ¶ 29 (“the Laceys had no choice but to incur additional
   3 expenses by hiring counsel on their own”), ¶ 32 (Mr. Lacey was “responsible for the
   4 difference”), ¶¶ 33, 48 (Mrs. Lacey is left “holding the bag. . . .”)).
   5            Mrs. Lacey’s counsel should have never certified these allegations because
   6 the evidence reflects that they knew all along that Ellis George had defended Mr.
   7 Lacey pro bono. (COE Ex. H, 181:6-11, 233:23-234:23); see Jeff Tracy, Inc. v.
   8 Scottsdale Ins. Co., 2015 WL 12765541, at *12 (C.D. Cal. Dec. 7, 2015) (finding
   9 counsel “should have known” their allegations required investigation because they
 10 were copied on emails indicating they were false). Ellis George drafted the pro
 11 bono retention agreement. (COE Ex. G). Mr. George, lead counsel of record for
 12 Ellis George, signed the pro bono retention agreement. (Id.). Mr. Keech, lead
 13 counsel for K&L Gates and former counsel at Ellis George, was staffed on the
 14 Abdullah Action when the pro bono retention agreement was entered, and for years
 15 thereafter. (ECF 30-2, Ex. 19 (LACEY000003); COE Ex. H, 126:23-127:2).
 16             The evidence also reflects that counsel knew that State Farm’s initial
 17 coverage position did not cause Mr. Lacey to hire Ellis George. According to Mrs.
 18 Lacey’s testimony and counsel’s privilege log, Ellis George’s retention began in
 19 October 2020, months before State Farm’s December 2020 letter to the Laceys
 20 notifying them that the allegations of the Complaint did not trigger a potential of
 21 coverage as to Mr. Lacey. (COE Ex. H, 33:8-34:15; 234:12-19 & Ex. 3).
 22             As a courtesy, before incurring the cost of bringing this Motion, State Farm’s
 23 counsel sent Ellis George and K&L Gates a letter notifying them that the false
 24 allegations of a more than $1 million debt owed by Mrs. Lacey to Ellis George and
 25 caused by State Farm, violated Rule 11 and their ethical obligations to counsel and
 26 the Court. (COE Ex. K). Ellis George and K&L Gates responded with various
 27 unsupported and frivolous arguments, none of which denied their knowledge of the
 28

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   1 Ellis George Pro Bono Agreement, or the indisputable fact that the Laceys owed no
   2 direct obligation to pay attorneys’ fees to Ellis George. (COE Ex. O).
   3            For example, they argued that the Ellis George Pro Bono Agreement was
   4 orally modified at some unspecified time in some way. (Id.). Mrs. Lacey and her
   5 counsel, who are experienced lawyers and officers of the court, understand the
   6 importance of fully-integrated fee agreements and their terms, including that any
   7 modification must be in writing. As written, the integrated Ellis George Pro Bono
   8 Agreement expressly barred oral modifications. (See COE Ex. G). Mrs. Lacey’s
   9 counsel should have known that any purported oral agreement made between Mrs.
 10 Lacey, who was not a contracting party, and Ellis George to pay the full billed rates
 11 would be in direct contravention of the express terms of the agreement and
 12 California law. (See COE Ex. Q, 10, 14-15, 17-21 (opining that any modification
 13 “transforming [the agreement] from pro bono to hourly at an unspecified rate”
 14 would be illegal, void, and unenforceable and in violation of basic contract law and
 15 ethical and fiduciary duties)).
 16             Ellis George’s conduct underscored the fact that she owed them no fee
 17 obligation. (COE Ex. H, 132:4-15, 215:13-24; 232:20-233:15, 238:3-8, 240:15-
 18 241:4; see also Ex. Q, 19 (“At best,” Mrs. Lacey’s testimony and Ellis George’s
 19 decision not to invoice the Laceys “indicates that Ms. Lacey’s understanding was
 20 that Ellis George would bill State Farm for its legal services after coverage was
 21 accepted, not that the Lacey[]s would be on the hook for any fees.”)). Both the
 22 Laceys and Ellis George always acted consistent with the pro bono retention, as
 23 Ellis George never billed the Laceys for attorneys’ fees and the Laceys never paid
 24 Ellis George for attorneys’ fees. It is therefore both factually and legally baseless
 25 for them to assert that Mrs. Lacey suffered damages of over $1 million purportedly
 26 “owed” to Ellis George as a result of State Farm’s conduct. (COE Ex. Q, 14-15, 17-
 27 21, 26-28).
 28

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   1            Ellis George and K&L Gates also responded to State Farm’s Rule 11 warning
   2 letter by arguing that fees for services provided pro bono can be recovered from
   3 third parties under certain circumstances. (COE Ex. O (citing inter alia, Arenson v.
   4 Nat’l Auto. & Cas. Ins. Co., 48 Cal. 2d 528 (1957), a pre-Section 2860 case
   5 suggesting that an attorney may seek fees from a carrier if not from their client)).
   6 That is not the issue here. State Farm is not disclaiming its own agreement to pay
   7 rates pursuant to Section 2860. Rather, State Farm moved to compel arbitration of
   8 that fee dispute. The issue here is that Ellis George and K&L Gates pursued this
   9 lawsuit, and opposed State Farm’s motion to compel arbitration, based on false
 10 factual allegations that Mrs. Lacey directly owes Ellis George more than $1 million.
 11 (See COE Ex. Q, 26-28 (“Statements by the attorneys in this action to the effect that
 12 the Laceys owed any legal fees to Ellis George would constitute material false
 13 statements of fact. . . .”)).
 14 B.          Mrs. Lacey’s Counsel Continued to Advance These Misrepresentations in
 15             its Opposition Papers and Discovery Responses
 16             Despite knowing that the Laceys owed Ellis George nothing in attorneys’ fees
 17 due to the pro bono agreement, Ellis George and K&L Gates attorneys continued to
 18 advance their false allegations of a purported $1 million debt owed directly by Mrs.
 19 Lacey.
 20             They repeated their false allegations in written discovery, asserting that Mrs.
 21 Lacey was “exposed” to over $2 million in unpaid fees, based on the total “billed by
 22 counsel of record at Ellis George LLP ($1,887,218.28) and K & L Gates LLP
 23 ($1,121,957.48).” (COE Exs. B-D). They argued that the Ellis George invoices
 24 supported Mrs. Lacey’s damages, which showed a balance owed to Ellis George
 25 alone of over $1 million. (Id.; ECF 30-2, Ex. 19).
 26             They doubled-down on their false allegations, by repeating them to the Court
 27 in their Opposition to State Farm’s Motion to Compel Arbitration. (ECF 22). They
 28 argued throughout that Opposition that the Court should refuse to compel arbitration

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   1 based on their false allegations that Mrs. Lacey incurred more than $1 million in
   2 debt to Ellis George as a result of State Farm’s purported conduct:
   3            •        “As alleged in Plaintiff’s complaint, when State Farm belatedly agreed
                         to defend Mr. Lacey—five months into the case—it did so only
   4                     partially and prospectively, leaving him to shoulder the burden of
                         the remainder of his defense, including all of his fees and costs
   5                     incurred thus far. . . . As to his fees and costs going forward, State
                         Farm improperly invoked Section 2860 . . . as a basis to refuse to pay
   6                     the fees actually incurred.” (Id. at 5 (emphasis added)).
   7            •        “Mr. Lacey, abandoned by his insurer, thus had no choice but to retain
                         counsel on his own and at his own expense.” (Id. at 7 (emphasis
   8                     added)).
   9            •        State Farm agreed to pay only panel counsel rates “leaving Mr. Lacey
                         to pay the significant difference between those rates and the
 10                      market rates actually charged by his counsel.” (Id. at 7 (emphasis
                         added)).
 11
                •        State Farm cannot properly label as “Cumis fees” the defense fees and
 12                      costs that Mr. Lacey incurred during the first five months of the
                         case—for which State Farm has refused to provide him with any
 13                      defense, to this day. (Id. at 9 (emphasis added)).
 14             •        “Plaintiff has pleaded claims against State Farm in this action for
                         breach of contract and bad faith due to, inter alia, State Farm’s express
 15                      refusal to defend Mr. Lacey during the earlier stages of the Underlying
                         Action, leaving him to retain counsel on his own, at his own expense.”
 16                      (Id. at 22 (emphasis added)).
 17
                As support, counsel cited only to the allegations of the Complaint. (ECF 22).
 18
       Not once did they disclose, or even suggest, the pro bono arrangement with Ellis
 19
       George. Nor did they acknowledge their own position that the Laceys retained Ellis
 20
       George as counsel as of October 19, 2020, months before State Farm notified Mr.
 21
       Lacey of its initial coverage determination. (COE Ex. H, Ex. 3).
 22
                State Farm raised these misrepresentations by addressing the pro bono
 23
       agreement at the hearing. (COE Ex. I, 20:23-23:25). When State Farm argued to
 24
       the Special Master that “the documents produced . . . show that those are false
 25
       statements,” the Special Master replied:
 26
 27
 28

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   1                     Well, we can take that up at the appropriate time, and
   2                     there may be some sort of Rule 11 issue that you may
   3                     want to put in front of the district court.
   4 (Id. at 26:23-27:4) (emphasis added). However, the Special Master declined to
   5 consider the pro bono agreement on the ground that it was not properly before him
   6 with the briefing. (ECF 78 at 9 n.6).
   7            Rather than acknowledge the pro bono agreement consistent with their duty
   8 of candor to the court and counsel, the Ellis George and K&L Gates attorneys
   9 avoided it. Mrs. Lacey’s counsel responded at the February 24, 2025 hearing that
 10 they objected “across the board” to “virtually every representation” made by State
 11 Farm’s counsel and suggested they were not “germane to this motion.” (COE Ex. I,
 12 32:2-7). Counsel doubled-down on that objection, filing an objection and motion to
 13 strike upon State Farm’s submission of the pro bono agreement, which the Court
 14 sustained on procedural grounds. (ECF 77, 77-1). Counsel then urged the Court to
 15 adopt the Special Master’s report, which they conceded was based, at least in part,
 16 on an examination of the allegations of the Complaint. (ECF 87, p. 7:22-23). Not
 17 once, whether at the hearing before the Special Master, or in their objection, or in
 18 their opposition to State Farm’s Motion for Review before the Court, did Ellis
 19 George or K&L Gates attorneys acknowledge the pro bono agreement. (COE Ex. I;
 20 ECF 77, 77-1).
 21 C.          This Court Should Order Sanctions Pursuant to Rule 11, 28 U.S.C.
 22             Section 1927, and/or the Court’s Inherent Powers
 23             Counsel’s brazen false allegations, which they have doubled-down on instead
 24 of correcting, and have thus far successfully relied upon to avoid mandatory
 25 arbitration, show that their misconduct will continue undeterred. The Court should
 26 issue sanctions, whether under Rule 11, Section 1927 or its inherent power. While
 27 Rule 11 violations focus on the papers, sanctions under Section 1927 and the court’s
 28 inherent powers may focus on the misconduct.

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   1            For example, a court may sanction counsel for repeatedly misstating and
   2 omitting critical facts, especially when they contradict the record. See, e.g., Moser
   3 v. Bret Harte Union High Sch. Dist., 366 F. Supp. 2d 944, 976, 978 (E.D. Cal.
   4 2005). One court found this behavior “insidious” because the misinformation was
   5 “provided by an officer of the court.” Id. It explained this unnecessary misconduct
   6 places an undue burden on the parties and the court, and that the repeated behavior
   7 could not be “anything other than a bad faith attempt to mislead the [c]ourt, obscure
   8 the real facts of the case, to obstruct, and/or to harass.” Id. Accordingly, the court
   9 inferred bad faith and found sanctions could be imposed under Rule 11, § 1927, and
 10 the court’s inherent authority. Id. at 979.
 11             Here, the Ellis George and K&L Gates attorneys should be sanctioned for
 12 repeatedly presenting and continuing to advance false statements that contradict
 13 their own personal experience and records establishing that the Laceys retained Ellis
 14 George pro bono. 9 (See COE Ex. Q, 15, 26, 28).
 15 D.          State Farm Requests its Fees and Costs in Defending This Action
 16             “In a case like this, where the original complaint is the improper pleading, all
 17 attorney fees reasonably incurred in defending against the claims asserted in the
 18 complaint form the proper basis for sanctions.” Gaskell v. Weir, 10 F.3d 626, 628-
 19 29 (9th Cir. 1993) (affirming sanctions for certifying allegations that “were so
 20 baseless that the complaint was frivolous) (citation omitted); see also Roe v. Rivian
 21 Auto. LLC, 2020 WL 8812913, at *3 (C.D. Cal. Dec. 11, 2020) (awarding
 22 reasonable fees and costs incurred to defend against frivolous complaint);
 23 Havensight Cap. LLC v. Nike, Inc., 2015 WL 13899007 (C.D. Cal. Sept. 22, 2015),
 24 aff’d, 891 F.3d 1167 (9th Cir. 2018) (same). Moreover, courts may impose
 25 sanctions for perpetuating factual misrepresentations that “wrongfully proliferate[]
 26 litigation,” even if the entire suit is not frivolous. Caputo v. Tungsten Heavy
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       9
           See supra Sections A (false allegations) and B (continued misrepresentations).

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   1 Powder, Inc., 96 F.4th 1111, 1153 (9th Cir. 2024) . As the Ninth Circuit has
   2 recognized, “‘the mere existence of one non-frivolous claim’ in a complaint does
   3 not immunize it from Rule 11 sanctions.” Holgate v. Baldwin, 425 F.3d 671, 677
   4 (9th Cir. 2005).
   5            In Uziel v. Superior Court, the Central District awarded sanctions for all fees
   6 incurred to defend an action because the plaintiff’s Rule 11 violations “infected” the
   7 entire action. 2021 WL 5830040, at *5 (C.D. Cal. Oct. 19, 2021), adopting report
   8 and recommendation, 2021 WL 5830036 (C.D. Cal. Nov. 22, 2021), aff’d, 2023 WL
   9 4311631 (9th Cir. July 3, 2023). The court emphasized that the factual allegations,
 10 which served as “cornerstones” of plaintiff’s legal theory, “were unsupported, and
 11 even contradicted by the record of underlying proceedings.” Id. at *5.
 12             Here, Ellis George and K&L Gates attorneys falsely alleged in the Complaint
 13 and have argued throughout this lawsuit that Mrs. Lacey owes more than $1 million
 14 to Ellis George. They intentionally and misleadingly recast this fee dispute into a tort
 15 action based on purported emotional distress arising from a fear of owing Ellis
 16 George attorneys’ fees that they knew were never owed. (See COE Ex. Q, 26-27
 17 (opining that counsel “violated their duties of honesty” by presenting material false
 18 statements of fact in their papers, discovery, and appearances). Their refusal to
 19 withdraw and correct these wrongful assertions infected the entire proceeding, as
 20 reflected by the Special Master’s apparent reliance on them in finding arbitration
 21 “premature.” (ECF 78 at 1, 9 (“The complaint adequately and colorably pled tort
 22 damages that are distinct from a bare claim of unpaid lawyer fees.”); Id. at 9 n.6
 23 (“Plaintiff’s allegations affect the consideration of the gravamen of the federal
 24 action.”)). But the extent to which the Special Master or the Court actually relied on
 25 the false allegations of a nonexistent attorneys’ fees debt to Ellis George related to
 26 the defense of the Abdullah Action is not determinative here. What matters here is
 27 the fact that counsel made those allegations, and refused to correct them. Had those
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   1 false allegations not appeared in the Complaint, the entire action may have been
   2 litigated differently and the arbitration question already resolved.
   3            Accordingly, State Farm requests an Order striking the false allegations in the
   4 Complaint and ordering Ellis George and K&L Gates to pay its reasonable fees and
   5 costs incurred in defending this action. (Hoffman Dec., ¶ 23). At minimum, the
   6 Court should award the fees incurred to defend and redress these misrepresentations,
   7 which will likely exceed $20,000 in bringing this Motion alone, and any other
   8 appropriate sanctions as determined by the Court. (Hoffman Dec., ¶ 24).
   9 V. CONCLUSION
 10             State Farm requests that the Court grant this Motion, strike the false
 11 allegations in the Complaint, and assess sanctions against Ellis George, K&L Gates,
 12 and/or their attorneys, jointly and severally, for its reasonable attorneys’ fees
 13 incurred in defending this suit, or bringing this Motion, or in some other amount
 14 pursuant to Rule 11, Section 1927 and/or the Court’s inherent powers to deter
 15 comparable misconduct.
 16
 17 Dated: April 22, 2025               SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 18
                                        By                  /s/ Jennifer M. Hoffman
 19                                                       JENNIFER M. HOFFMAN
 20                                                        ANDRE J. CRONTHALL
                                                            ANDREA S. WARREN
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                                                             JEFFREY S. CROWE
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                                                          STATE FARM GENERAL
 24                                                       INSURANCE COMPANY
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   1                            CERTIFICATE OF COMPLIANCE
   2            The undersigned, counsel of record for State Farm, certifies that this brief
   3 contains 6,957 words, which complies with the word limit of L.R. 11-6.1.
   4
   5 Dated: March 31, 2025             By:                  /s/ Jennifer M. Hoffman
   6                                                      JENNIFER M. HOFFMAN
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   7                                                        ANDREA S. WARREN
   8                                                         JEFFREY S. CROWE
   9                                                       Attorneys for Defendant
 10                                                       STATE FARM GENERAL
                                                          INSURANCE COMPANY
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   1                                 PROOF OF SERVICE
   2                    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3       At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Los Angeles, State of California. My
   4 business address is 350 South Grand Avenue, 40th Floor, Los Angeles, California
     90071-3460.
   5
           On March 31, 2025, I served true copies of the following document(s)
   6 described as INDEX AND COMPENDIUM OF EXHIBITS IN SUPPORT OF
     DEFENDANT STATE FARM GENERAL INSURANCE COMPANY’S
   7 MOTION FOR SANCTIONS on
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 21 copy of the document(s) to be sent from e-mail address
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 24 hand to the office of the addressee(s).
 25       I declare under penalty of perjury under the laws of the United States of
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 26 of a member of the bar of this Court at whose direction the service was made.
 27
 28
                                             -1-               Case No. 2:24-cv-05205-FMO-MAA
       SMRH:4900-8212-0200.5
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                                       ID #:4370



   1            Executed on March 31, 2025, at Los Angeles, California.
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   3   057V-391525
                                                  Gino Pasquale
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